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 5
                                    UNITED STATES DISTRICT COURT
 6
                                            DISTRICT OF NEVADA
 7
 8   UNITED STATES OF AMERICA,                 )
                                               )
 9                     Plaintiff,              )                   Case No. 2:16-cr-00046-GMN-PAL
                                               )
10   vs.                                       )
                                               )                   ORDER
11   RYAN BUNDY,                               )
                                               )                   Re: Defendant’s Witness List for
12                     Defendant.              )                       Detention Hearing
     __________________________________________)
13
14          This matter is before the Court on Defendant’s Detention Hearing Witness List (ECF No. 1325),
15   filed on January 17, 2017. The primary focus of the reopened detention hearing is to afford Defendant
16   Bundy the opportunity to present evidence or information that rebuts the probable cause finding in the
17   superceding indictment which gives rise to the rebuttable presumption that Defendant poses a
18   substantial risk of nonappearance and a danger to the community. See Order (ECF No. 1263).
19          Defendant has listed the following individuals as character witnesses: Shem Teerlink, Cheryl
20   Teerlink, Eric Farnsworth, Angela Bundy, and Jamie Bundy. He has also listed an additional seventeen
21   character witnesses. The Court will permit Defendant to present brief live testimony from no more than
22   two character witnesses. Defendant, however, may submit affidavits from other character witnesses for
23   consideration by the Court.
24          Defendant does not provide sufficient information regarding the anticipated testimony of the
25   following witnesses: Doyle Decker, Daniel P. Love, Breanna Bundy, Brian Johnson, Shawn Cox and
26   Shannon Bushman. Because Defendant has not made an adequate proffer of these witnesses’
27   testimony, the Court will not permit them to testify at the hearing.
28          The Court will await any objection by the Government to the following witnesses before it
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 1   determines whether they will be permitted to testify: Mark McEwen, Joseph Lombardo, Brett Empy,
 2   Nathan Curtis, and Jerusha Bundy.
 3          IT IS SO ORDERED.
 4          DATED this 18th day of January, 2017.
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 6                                             ______________________________________
                                               GEORGE FOLEY, JR.
 7                                             United States Magistrate Judge
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